Case 20-10791 Doc1 Filed 01/21/20 Page 1 of 39

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:
DISTRICT OF MARYLAND

Case number (if known) Chapter you are filing under:

Wi Chapter 7
Oi Chapter 11

L0- (074)
O Chapter 13 “1 Check if this is an

amended filing

Official Form 101 Lt HH0]B PES”

Voluntary Petition for Individuals Filing for Bankruptcy 12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish

between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debfor 2. The same person must be Debtor 7 in
all of the forms.

  

 

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name

Write the name that is on Melanie

 

 

 

 

 

 

your government-issued =“ First name First name

picture identification (for

example, your driver's Clintte

license or passport). Middle name Middle name

Bring your picture Bai

ea ailey

identification to your

meeting with the trustee. Last name and Suffix (Sr., Jr., Il, HI) Last name and Suffix (Sr., Jr., li, II)

 

2. Allother names you have
used in the last 8 years

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal XXX-XX-4875
Individual Taxpayer
Identification number
(ITIN)

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 
Debtor 1

4. Any business names and
Employer Identification
Numbers (EIN) you have
used in the last 8 years

Include trade names and
doing business as names

Case 20-10791 Doc 1

Melanie Clintte Bailey

About Debtor 1:

Wl | have not used any business name or EINs.

 

Business name(s)

Filed 01/21/20 Page 2 of 39

Case number (if known)

 

About Debtor 2 (Spouse Only in a Joint Case):

CJ | have not used any business name or EINs.

 

 

EINs

Business name(s)

 

EINs

 

5. Where you live

923 N Bentalou St
Baltimore, MD 21216
Number, Street, City, State & ZIP Code

Baltimore City

If Debtor 2 lives at a different address:

 

 

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

Number, Street, City, State & ZIP Code

 

 

Number, P.O. Box, Street, City, State & ZIP Code

County

If Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

Number, P.O. Box, Street, City, State & ZIP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

M Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

Oo ! have another reason.
Explain. (See 28 U.S.C. § 1408.)

 

Check one:

C) ——Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

( thave another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

Official Form 101

 

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 
Debtor 1

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Melanie Clintte Bailey

Tell the Court About Your Bankruptcy Case

Case number (if known)

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
Bankruptcy Code youare (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under
M@ Chapter 7
O Chapter 11
O Chapter 12
O Chapter 13
8. Howyouwill pay the fee  _ | will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.
O_siIneed to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in Installments (Official Form 103A).
| request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.
9. Have you filed for HI No.
bankruptcy within the
last 8 years? C Yes.
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy MNo
cases pending or being
filed byaspouse whois [1 Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your C1 No. Go to line 12.
residence? Ml yes. Has your landlord obtained an eviction judgment against you?
ug No. Go to line 12.

Oo

Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it with this

bankruptcy petition.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 3

 
Debtor 1

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Melanie Clintte Bailey Case number (if known)

 

Report About Any Businesses You Own as a Sole Proprietor

 

 

 

 

12. Are youa sole proprietor
of any full- or part-time HI No. Go to Part 4.
business?
CO Yes. Name and location of business

A sole proprietorship is a

business you operate as Name of business, if any

an individual, and is not a

separate legal entity such

as a corporation,

partnership, or LLC.

If you have more than one Number, Street, City, State & ZIP Code

sole proprietorship, use a

separate sheet and attach

it to this petition. Check the appropriate box to describe your business:
0 Health Care Business (as defined in 11 U.S.C. § 101(27A))
oO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Oo Stockbroker (as defined in 11 U.S.C. § 101(53A))
oO Commodity Broker (as defined in 11 U.S.C. § 101(6))
oO None of the above

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate

Chapter 11 of the
Bankruptcy Code and are
you a small business
debtor?

For a definition of small
business debtor, see 11
U.S.C. § 101(51D).

deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, staternent of
operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
in 11 U.S.C. 1116(1)(B).

No. | am not filing under Chapter 11.
OONo. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
Code.
0 Yes. lam filing under Chapter 11 and | am a small business debtor according to the definition in the Bankruptcy Code.

 

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14.

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

No.

CQ Yes.
What is the hazard?

 

If immediate attention is
needed, why is it needed?

 

Where is the property?

 

Number, Street, City, State & Zip Code

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 4

 
Debtor 1

Melanie Clintte Bailey

Case 20-10791 Doc 1

Explain Your Efforts to Receive a Briefing About Credit Counseling

Filed 01/21/20 Page 5 of 39

Case number (if known)

 

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
so, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 1:
You must check one:

Oo

| received a briefing from an approved credit oO
counseling agency within the 180 days before |

filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

| received a briefing from an approved credit ‘|
counseling agency within the 180 days before |

filed this bankruptcy petition, but | do not have

a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

I certify that | asked for credit counseling oO
services from an approved agency, but was

unable to obtain those services during the 7

days after | made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

lam not required to receive a briefing about oO
credit counseling because of:

OD _siIncapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

O__sSODisability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

Oo Active duty.
| am currently on active military duty in a
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

lam not required to receive a briefing about credit
counseling because of:

C]_ Incapacity.
! have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

O1_ «Disability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

1 Active duty.
| am currently on active military duty in a military
combat zone.

!f you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

Official Form 101

 

Voluntary Petition for Individuals Filing for Bankruptcy

page 5

 
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Debtor 1 Case number (if known)

Melanie Clintte Bailey

 

Answer These Questions for Reporting Purposes
16. What kind of debts do 16a.

 

Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an

you have?

individual primarily for a personal, family, or househoid purpose.”
D1 No. Go to line 16b.

Wl Yes. Go to line 17.

 

 

 

 

estimate your assets to
be worth?

1 $50,001 - $100,000

0 $100,001 - $500,000
1 $500,001 - $1 million

[J $10,000,001 - $50 million
0 $50,000,001 - $100 million
01 $100,000,001 - $500 million

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.
D1 No. Go to line 16c.
C1] Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under OONo. |! amnot filing under Chapter 7. Go to line 18.
Chapter 7?
Do you estimate that yes | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt * are paid that funds will be available to distribute to unsecured creditors?
property is excluded and
administrative expenses MNo
are paid that funds will
be available for 0 Yes
distribution to unsecured
creditors?
18. How many Creditorsdo i 4_49 CZ 1,000-5,000 [J 25,001-50,000
you gstimate thatyou ==. 50.99 C1 5001-10,000 C1 50,001-100,000
owe C3 100-199 1 10,001-25,000 C1 More than100,000
0 200-999
19. How much do you WI s0 - $50,000 0 $1,000,001 - $10 million 0 $500,000,001 - $1 billion

DC $1,000,000,001 - $10 billion
C1 $10,000,000,001 - $50 billion
OC More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

@ $0 - $50,000
O $50,001 - $100,000

C1 $100,001 - $500,000
C2 $500,001 - $1 million

CO $1,000,001 - $10 million

1 $10,000,001 - $50 million
O $50,000,001 - $100 million
C1] $100,000,001 - $500 million

C1] $500,000,001 - $1 billion

CD $1,000,000,001 - $10 billion
C $10,000,000,001 - $50 billion
O More than $50 billion

 

Sign Below

For you | have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this
document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

 

Signature of Debtor 2

 

Executed on

Executed on |

 

 

MM {DD /NYYY MM /DD/YYYY

 

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy

page 6

 

 
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Debtor1 Melanie Clintte Bailey Case number (if known)

 

 

For you if you are filing this
bankruptcy without an
attorney

If you are represented by an
attorney, you do not need to
file this page.

  
  
   

The law allows you, as an individual, to represent yourself in bankruptcy court, but you should understand that many
people find it extremely difficult to represent themselves successfully. Because bankruptcy has long-term
financial and legal consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical, and a mistake or
inaction may affect your rights. For example, your case may be dismissed because you did not file a required document,
pay a fee on time, attend a meeting or hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy
administrator, or audit firm if your case is selected for audit. If that happens, you could lose your right to file another case,
or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the court. Even if you plan to pay
a particular debt outside of your bankruptcy, you must list that debt in your schedules. If you do not list a debt, the debt may
not be discharged. If you do not list property or properly claim it as exempt, you may not be able to keep the property. The
judge can also deny you a discharge of all your debts if you do something dishonest in your bankruptcy case, such as
destroying or hiding property, falsifying records, or lying. Individual bankruptcy cases are randomly audited to determine if
debtors have been accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be fined and
imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had hired an attorney. The court
will not treat you differently because you are filing for yourself. To be successful, you must be familiar with the United
States Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the local rules of the court in which your case is
filed. You must also be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?
O1No

Ml Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate or incomplete, you
could be fined or imprisoned?

DC No
Ml Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
HNo
O Yes Name of Person

Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By sig igning here, | acknowledge that | understand the risks involved in filing without an attorney. | have read and understood
iling’a bankruptcy case without an attorney may cause me to lose my rights or property if | do

 

Signature of Debtor 2

    

Sighature of Debtor 1

a 7 f 0 sate

vl pot YYYY MM/DD/YYYY

Date

 

 

 

 

 

 

Contact phone Contact phone
Cell phone 443-208-8017 Cell phone
Email address Email address

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 8

 

 
 

 

Case 20-10791 Doc1 Filed 01/21/20 Page 8 of 39

      
     
         

Fill in this information to identify your case:

Debtor 1 Melanie Clintte Bailey

First Name Middle Name Last Name

  
 

Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 

   
  
  
   
 

   

United States Bankruptcy Court forthe: DISTRICT OF MARYLAND

 

  

Case number
{if known)

 

 

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your-assets.
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule A/B......... cece renee teneeeteene tenets terrsceresrersesssesaassesessensienens $ 0.00
1b. Copy line 62, Total personal property, from Schedule A/B.......... seen eee ete ee tenets reneneeesenree cases tee censeesensarees $ 10,025.00
1c. Copy line 63, Total of all property on Schedule AB... cee eee neteneeeeeieseeesneeaestenenearaceeseeeeriessstanseneneseess $ 10,025.00

Enel Summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 14,581.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

 

 

 

 

 

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F...........eseeeeiee $ 0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule EMF... $ 5,132.00
Your total liabilities | $ 19,713.00
Summarize Your Income and Expenses
4. Schedule I: Your Income (Official Form 106!)
Copy your combined monthly income from line 12 Of SCHEQUIE I....... cece terete niee ences cere reecsaeieneenere canes $ 1,934.34
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22¢ Of SCHEGUIC J... cect e tener tetera reneee renee tneneneneneeiees $ 2,811.00

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
C1 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Yes
7. What kind of debt do you have?

mw Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

(1 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

 
 

Case 20-10791 Doc1 Filed 01/21/20 Page 9 of 39

Debtor1 Melanie Clintte Bailey Case number (if known)

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official Form

122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

1,934.31

 

 

 

 

 

 

a Total claim

From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 0.00

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00

9c. Ciaims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00

9d. Student loans. (Copy line 6f.) $ 0.00

Ye. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.) $ 0.00

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00

9g. Total. Add lines 9a through 9f. $ 0.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 2 of 2

 
Case 20-10791 Doc1 Filed01/21/20 Page 10 of 39

      
   
      

Fill in this information to identify your case and this filing:

     

Debtor 1

  

Melanie Clintte Bailey

First Name Middle Name Last Name

  
 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

      
      
   

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 

/:
2
oO Check if this is an

amended filing

Case number

 

 

Official Form 106A/B

Schedule A/B: Property 12115

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

Wl No. Go to Part 2.
O Yes. where is the property?

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

1 No

yes

3.1 Make: Dodge Who has an interest in the property? Check one Do not deduct secured claims or exemptions. Put

. ss the amount of any secured claims on Schedule D:
Model: Journey BF pebdtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2014 DO Debtor 2 only Current value of the Current value of the
Approximate mileage: DO Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: Dat least one of the debtors and another
Cl check if this is community property $7,000.00 $7,000.00
(see instructions)

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

HNo
0 Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
pages you have attached for Part 2. Write that number here..........ccscsscsosssssssessrseesssssssssesssanserscssenesseetsseeseeess => $7,000.00

 

 

 

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

Official Form 106A/B Schedule A/B: Property page 1

 
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Debtor1 Melanie Clintte Bailey Case number (if known)

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

No
Ml Yes. Describe.....

 

| Household Goods and Furnishings $2,000.00

 

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

OO No
WI Yes. Describe.....

 

|2 TV's, radio, 2 clocks, dvd player | $400.00

 

 

 

| Cellphone | $175.00

 

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles

BNo
CO Yes. Describe...

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments

MNo
C Yes. Describe...

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

MNo
0 Yes. Describe...

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

O No
@ Ves. Describe.....

 

[Women clothing and shoes $350.00

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

ONo
Hl Yes. Describe.....

 

| misc Jewelry $100.00

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

BNo
OC Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list
MNo
C1 Yes. Give specific information.....

Official Form 106A/B Schedule A/B: Property page 2

 
 

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Debtor1 Melanie Clintte Bailey Case number (if known)

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here ............cccssssscccesesnesscersecsssersserensaesteeesstssacarsceveess $3,025.00

 

 

 

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

HNo

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.
No

ves Institution name:

17.1. Bank of America $0.00

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

MNo
O Yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

MI No

D Yes. Give specific information about them............0....
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

HNo
CO Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

HNo

C] Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

HNo
DYES. cooceecccccccecceeees Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
MNo
OD Yes... Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

No
Oves............ Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

Official Form 106A/B Schedule A/B: Property page 3

 

 
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Debtor 1 Melanie Clintte Bailey Case number (if known)

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
MINo

OC Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: \nternet domain names, websites, proceeds from royalties and licensing agreements

MNo
C) Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

HNo
C Yes. Give specific information about them...

Money or property owed to you? : Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
MNo
O Yes. Give specific information about them, including whether you already filed the returns and the tax years

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
MNo

0 Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

Hino
0 Yes. Give specific information.

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

HNo

CI Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

MNo
O Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

BNo
C] Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
HNo ,

[I Yes. Describe each claim.........

35. Any financial assets you did not already list
BNo

CO Yes. Give specific information..

Official Form 106A/B Schedule A/B: Property page 4

 
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Debtor 1 Melanie Clintte Bailey Case number (if known)

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here... cscssssscseecsesscerssrssseenesecssaseesrensenensecesedcenecesonecersnsese seeseeeseeroneaereanaanes $0.00

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
Wl No. Go to Part 6.

DO yYes. Go to line 38.

ilacme Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
{f you own or have an interest in farmland, list itin Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Wl No. Go to Part 7.

Dyes. Go to line 47.

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

Mino
CO] Yes. Give specific information.........

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ........::cscseesessersersees $0.00

 

 

 

List the Totals of Each Part of this Form

 

 

55. Part 1: Total real estate, lIne 2 oo... esse tssseseecenseneesceresucenerscenseseesensseneneneaaeeceesseencosssee censeaneseaeseeneneetsees . $0.00
56. Part 2: Total vehicles, line 5 $7,000.00

57. Part 3: Total personal and household items, line 15 $3,025.00

58. Part 4: Total financial assets, line 36 $0.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $10,025.00 Copy personal property total $10,025.00
63. Total of all property on Schedule A/B. Add line 55 + line 62 $10,025.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 5

 

 
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Fill in this information to identify your case:

Debtor 1 Melanie Clintte Bailey

First Name

 

Middle Name Last Name

Debtor 2
(Spouse if, filing)

 

First Name Middle Name Last Name

United States Bankruptcy Court forthe: © DISTRICT OF MARYLAND

 

 

Case number
(if known)

 

O Check if this is an
amended filing

 

Official Form 106C

Schedule C: The Property You Claim as Exempt 4I19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
BI You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C You are claiming federal exemptions. 11 U.S.C. § §22(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Current value of the
portion you own

Brief description-of the property and line on
Schedule A/B that lists this ‘property

Amount of the exemption you claim Specific laws that allow exemption

Copy the value from Check only one box for each exemption.

Schedule A/B

$2,000.00 Md. Code Ann., Cts. & Jud.

Proc. § 11-504(b)(5)

Household Goods and Furnishings $2,000.00
Line from Schedule A/B: 6.1 _
DO 100% of fair market value, up to

any applicable statutory limit

 

 

 

 

2 TV's, radio, 2 clocks, dvd player $400.00 $400.00 Md. Code Ann., Cts. & Jud.
Line from Schedule A/B: 7.1 Proc. § 11-504(b)(5)
Cl 100% of fair market value, up to
any applicable statutory limit
Cellphone Md. Code Ann., Cts. & Jud.
Line from Schedule A/B: 7.2 $175.00 $175.00 Proc. § 11-504(b)(5)
O 100% of fair market value, up to
any applicable statutory limit
Women clothing and shoes $350.00 ff $350.00 Md. Code Ann., Cts. & Jud.
Line from Schedule A/B: 11.1 Proc. § 11-504(b)(5)
OC 100% of fair market value, up to
any applicable statutory limit
misc Jewelry $100.00 $100.00 Md. Code Ann., Cts. & Jud.
Line from Schedule A/B: 12.1 Proc. § 11-504(b)(5)
O 100% of fair market value, up to

any applicable statutory limit

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 1 of 2

 
 

 

 

 

 

Case 20-10791 Doc1 Filed 01/21/20 Page 16 of 39
Debtor1 Melanie Clintte Bailey Case number (if known)
Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Bank of America $0.00 $0.00 Md. Code Ann., Cts. & Jud.
Line from Schedule A/B: 17.1 Proc. § 11-504(b)(5)}
CX 400% of fair market value, up to
any applicable statutory limit
3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
HM No
0 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
O No
O Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 2

 

 
 

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Fill in this information to identify your case:

Debtor 1 Melanie Clintte Bailey

First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: DISTRICT OF MARYLAND

 

Case number
(if known) (1 Check if this is an
amended filing

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. if more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?
C1 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
@ Yes. Fill in all of the information below.

List All Secured Claims

 

 

 

 

 

 

 

 

 

. . . a, . Column A Column B Column C
2. List ail secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor's name. Do not deduct the that supports this portion
value of collateral. claim If any
2.1 | Santander Consumer Describe the property that secures the claim: $14,581.00 $7,000.00 $7,581.00
Creditor's Name 2014 Dodge Journey
As of the date you file, the claim is: Check all that
PO Box 961211 apply. y ecm
Fort Worth, TX 76161 C1 contingent
Number, Street, City, State & Zip Code Oo Unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
WB pebtor 4 only Oan agreement you made (such as mortgage or secured
car loan
O] Debtor 2 only " )
CI Debtor 1 and Debtor 2 only 0D Statutory lien (such as tax lien, mechanic's lien)
C1 at least one of the debtors and another Judgment lien from a lawsuit
O Check if this claim relates to a CO other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
Add the dollar value of your entries in Column A on this page. Write that number here: $14,581.00
If this is the last page of your form, add the dollar value totais from all pages.
Write that number here: $14,581.00

 

 

 

List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1

 
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Fill in this information to identify your case:

Debtor 1 Melanie Clintte Bailey

First Name Middie Name Last Name

Debtor 2
(Spouse if, filing)

 

First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 

Case number
(if known) 1 Check if this is an
amended filing

 

 

 

Official Form 106E/F
‘Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

List Ail of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?

No. Go to Part 2.
OD Yes.

 

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

C1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Wl ves.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
Part 2. ,

Total claim

41 | ADT Security Service

Nonpriority Creditor's Name

Last 4 digits of account number Unknown

 

3190 South Vaughn Way
Aurora, CO 80014

 

Number Street City State Zip Code

Who incurred the debt? Check one.

I Debtor 1 only

0 Debtor 2 only

D Debtor 1 and Debtor 2 only

CO Atleast one of the debtors and another

OD Check if this claim is for a community
debt
Is the claim subject to offset?

a No
0 yes

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

O Contingent
D unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

O student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

BF other. Specify

 

 

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

Page 1 of 6

 
Case 20-10791

Debtor1 Melanie Clintte Bailey

 

 

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

Bank of America Last 4 digits of account number Unknown
Nonpriority Creditor's Name
PO Box 982238 When was the debt incurred?
El Paso, TX 79998
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
a Debtor 1 only | Contingent
D Debtor 2 only a) Unliquidated
C1 Debtor 1 and Debtor 2 only QD Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a. community C1) student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
ts the claim subject to offset? report as priority claims
Hino O Debts to pension or profit-sharing plans, and other similar debts
CQ yes i other. Specify
4.3 CitiCards Last 4 digits of account number Unknown
Nonpriority Creditor’s Name
PO Box 6282 When was the debt incurred?
Sioux Falls, SD 57117
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
 bebdtor 1 only O Contingent
0 Debtor 2 only oO Unliquidated
C1 Debtor 1 and Debtor 2 only oO Disputed
C1 Atiteast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C] student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino OD Debts to pension or profit-sharing plans, and other similar debts
O Yes MI other. Specify Kmart
4.4 Comcast Last 4 digits of account number $319.00
Nonpriority Creditor's Name
PO Box 3006 When was the debt incurred?

Southeastern, PA 19398

 

Number Street City State Zip Code
Who incurred the debt? Check one.

M pebtor 1 only

OD Debtor 2 only

CZ Debtor 1 and Debtor 2 only

C1 at least one of the debtors and another

C] Check if this claim is for a community
debt

Is the claim subject to offset?

No
D Yes

 

As of the date you file, the claim is: Check ail that apply

oO Contingent
CO untiquidatea

O Disputed
Type of NONPRIORITY unsecured claim:

CO student loans

| Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

0 pebts to pension or profit-sharing plans, and other similar debts

Wi other. Specify

 

 

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Case 20-10791

Debtor 1 Melanie Clintte Bailey

45 | Comenity Bank

 

 

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

Last 4 digits of account number Unknown
Nonpriority Creditor's Name
PO Box 182789 When was the debt incurred?
Columbus, OH 43218
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HF pebtor 1 only oO Contingent
CO) Debtor 2 only Oo Unliquidated
C) Debtor 1 and Debtor 2 only 0 Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is fora community C) student ioans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi no CZ debts to pension or profit-sharing plans, and other similar debts
CO Yes MI other. Specify Value City Furniture
4.6 D2 Management LLC Last 4 digits of account number Unknown
Nonpriority Creditor's Name
2894 Argent Blvd When was the debt incurred?
Ridgeland, SC 29936
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WM Debtor 4 only 0 Contingent
O Debtor 2 only OD unliquidated
CZ Debtor 1 and Debtor 2 only O Disputed
CO atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
MNo 0 Debts to pension or profit-sharing plans, and other similar debts
0 Yes WM other. Specify Smart Pay Leasing
4.7 LabCorp Last 4 digits of account number $1,240.00
Nonpriority Creditors Name
PO Box 2240 When was the debt incurred?

Burlington, NC 27216

 

Number Street City State Zip Code
Who incurred the debt? Check one.

a Debtor 1 only

CO Debtor 2 only

DO) Debtor 1 and Debtor 2 only

CI Atleast one of the debtors and another

O Check if this claim is fora community
debt
Is the claim subject to offset?

ME No
D Yes

 

As of the date you file, the claim is: Check ali that apply

oO Contingent
C1 untiquidated

O Disputed
Type of NONPRIORITY unsecured claim:

OD Student loans

| Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

DO petts to pension or profit-sharing plans, and other similar debts

IM other. Specify Invoice #62274968

 

 

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Case 20-10791

Debtor 1 Melanie Clintte Bailey

48 M & T Bank

 

 

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

Last 4 digits of account number Unknown
Nonpriority Creditor's Name
PO Box 62146 When was the debt incurred?
Baltimore, MD 21264
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Mi Debtor 1 only oO Contingent
0 Debtor 2 only oO Unliquidated
C1 Debtor 1 and Debtor 2 only Oo Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C) check if this claim is for a community CJ student ioans
debt 1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No C) debts to pension or profit-sharing plans, and other similar debts
O Yes BF other. Specify
4.9 Progressive Leasing Last 4 digits of account number $2,600.00
Nonpriority Creditor's Name
256 West Data Drive When was the debt incurred?
Draper, UT 84020
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only Oo Contingent
C1 Debtor 2 only O Unliquidated
DO Debtor 1 and Debtor 2 only Oo Disputed
CJ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
OC check if this claim is fora community C) Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D petits to pension or profit-sharing plans, and other similar debts
4.1 .
0 SmartPay Leasing Last 4 digits of account number Unknown

 

 

 

Nonpriority Creditor's Name
720 East Pete Rose Way Suite 400
Cincinnati, OH 45202

 

Number Street City State Zip Code

Who incurred the debt? Check one.

I Debtor 1 only

C) Debtor 2 only

C1 Debtor 1 and Debtor 2 only

CO Atleast one of the debtors and another

D1 Check if this claim is for a community
debt

Is the claim subject to offset?
Bi no
0 Yes

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

D Contingent
D0 unliquidated

0 Disputed
Type of NONPRIORITY unsecured claim:

CJ student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D1 Debts to pension or profit-sharing plans, and other similar debts

HF other. Specify

 

 

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

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Case 20-10791

Debtor 1 Melanie Clintte Bailey

 

 

 

 

 

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Case number (if known)

 

 

 

 

 

 

 

 

Nonpriority Creditor's Name
POB 15609
Wilmington, DE 19850

 

Number Street City State Zip Code
Who incurred the debt? Check one.

B bebtor 1 only

O Debtor 2 only

0 Debtor 1 and Debtor 2 only

C1 at least one of the debtors and another

DO check if this claim is for a community
debt
Is the claim subject to offset?

MB no
OD Yes

4.1 :
1 T-Mobile Last 4 digits of account number Unknown
Nonpriority Creditor’s Name
PO Box 53410 When was the debt incurred?
Bellevue, WA 98015
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
@ Debtor 1 only oO Contingent
CO Debtor 2 only D0 Unliquidated
C] Debtor 1 and Debtor 2 only DO Disputed
CO At ieast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO] Check if this claim is fora community C) student loans
debt D Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bo C1 Debts to pension or profit-sharing plans, and other similar debts
OD Yes Wi other. Specify
4.1
2 Transworld Systems Last 4 digits of account number $973.00

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

O Contingent
C1 Unliquidated

oO Disputed
Type of NONPRIORITY unsecured claim:

C Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

C1 debts to pension or profit-sharing plans, and other similar debts

 

 

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 4 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. if you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address

 

On which entry in Part 1 or Part 2 did you list the original creditor?
Southwest Credit Systems Line 4.4 of (Check one): CZ Part 1: Creditors with Priority Unsecured Claims
4120 Interational Pkwy Suite 1100

MM part 2: Creditors with Nonpriority Unsecured Claims
Carrollton, TX 75007

Last 4 digits of account number

 

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

 

 

 

 

Total Claim
6a. Domestic support obligations 6a. $ 0.00
Total
claims
from Part 1 6b. Taxes and certain other debts you owe the government 6b. $ 0.00
6c. Claims for death or personal injury while you were intoxicated 6c. $ 0.00
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. $ 0.00
6e. Total Priority. Add lines 6a through 6d. Se. $ 0.00
Total Claim

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 6

 
Debtor 1

Total
claims
from Part 2

Melanie Clintte Bailey

6f.

6g.
6h.

6i.

6.

Official Form 106 E/F

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Case number (if known)

 

 

Student loans 6F. $ 0.00
Obligations arising out of a separation agreement or divorce that

you did not report as priority claims 6g. $ 0.00
Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0.00
Other. Add ail other nonpriority unsecured claims. Write that amount Gi.

here. promy $ 5,132.00
Total Nonpriority. Add lines 6f through 6i. gj. $ 5,132.00

Ye PVE

 

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

 

Page 6 of 6

 
 

Case 20-10791 Doc1 Filed 01/21/20 Page 24 of 39

Fill in this information to identify your case:

Debtor 1 Melanie Clintte Bailey

First Name Middie Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: © DISTRICT OF MARYLAND

 

Case number
(if known) OO Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
Ml No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
CO Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Code

 

2.1

 

Name

 

Number Street

 

City State ZIP Code
2.2

 

Name

 

Number Street

 

City State ZIP Code
2.3

 

Name

 

Number Street

 

City State ZIP Code
2.4

 

Name

 

 

Number Street

 

City State ZIP Code
2.5

 

Name

 

Number Street

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page t of 1

 
Case 20-10791 Doc1 Filed 01/21/20 Page 25 of 39

Fill in this information to identify your case:

Debtor 1 Melanie Clintte Bailey

First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: © DISTRICT OF MARYLAND

 

Case number
(if known) O Check if this is an
amended filing

 

 

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

BNo
Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Bi No. Go to line 3.
C1 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Name, Number, Street, City, State and ZIP Code Check all schedules that apply:
3.1 C] Schedule D, line
Name CO) Schedule E/F, line
DO Schedule G, line
Number Street
City State ZIP Code
3.2 C1] Schedule D, line
Name CO Schedule E/F, line
OO] Schedule G, line
Number Street
City State ZIP Code

 

Official Form 106H Schedule H: Your Codebtors Page 1 of 1

 

 
Case 20-10791 Doc1 Filed 01/21/20 Page 26 of 39

Fill in this information to identify your case:

Debtor 1 Melanie Clintte Bailey

 

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 

Case number Check if this is:
(If known) C] An amended filing

Oa supplement showing postpetition chapter
13 income as of the following date:

Official Form 106! wMTDDIYyyY
Schedule I: Your Income 12/45

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fillin your employment i Bes ee
information. Debtor? > a Debtor 2 or non-filing spouse

 

  

 

 

 

If you have more than one job, Empl t stat @ Employed CO Employed

attach a separate page with mployment status

information about additional CO Not employed C1 Not employed
loyers.

emproy Occupation

 

Include part-time, seasonal, or '
self-employed work, Employer's name Angels Health Care Inc

 

Occupation may include student Employer's address 617 Stemmers Run Road Suite
or homemaker, if it applies. Al
Essex, MD 21221

 

How long employed there?

Give Details About Monthly Income

 

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

For Debtor:1 -For Debtor :2 or
non-filing spouse

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2. §$ 1,934.31 $ N/A
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +8 N/A
4. Calculate gross Income. Add line 2 + line 3. 4. 1$ 1,934.31 | $ NIA

 

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1
Case 20-10791 Doc1 Filed 01/21/20 Page 27 of 39

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1 Melanie Clintte Bailey Case number (if known)
For Debtor 1 For-Debtor 2 or”
non-filing spouse
Copy line 4 here 4. $ 1,934.31 $ N/A
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 0.00 $ N/A
5b. Mandatory contributions for retirement plans 5b. $ 0.00 = $ N/A
5c. Voluntary contributions for retirement plans 5c. §$ 0.00 $ N/A
5d. Required repayments of retirement fund loans 5d.  $ 0.00 §$ N/A
Se. Insurance Se. $§ 0.00 $ N/A
5f. Domestic support obligations Sf = $ 0.00 «6$ N/A
5g. Union dues 5g. $ 0.00 $ N/A
5h. Other deductions. Specify: 5h.+ $ 0.00 + $ NIA
6. Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6 § 0.00 $ N/A
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. §$ 1,934.31 $ N/A
List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a. $ 0.00 $ N/A
8b. Interest and dividends 8b. $ 0.00 $ N/A
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. 8c. $ 0.00 $ N/A
8d. Unemployment compensation 8d. $ 0.00 $ N/A
8e. Social Security 8e. $ 0.00 $ N/A
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: sf = $$ 0.00 $ N/A
8g. Pension or retirement income 8g. $ 0.00 $ N/A
8h. Other monthly income. Specify: 8h.+ $ 0.00 + $ N/A
9. Addall other income. Add lines 8at+8b+8c+8d+8e+8f+8g+8h. 9. |$ 0.00 $ N/A
10. Calculate monthly income. Add line 7 + line 9. 10. |$ 1,934.31 | +/$ N/A}=|$ 1,934.31

 

 

 

 

 

 

 

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

 

11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify: 11. +$ 0.00

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
applies 12.1 $ 1,934.31

 

 

 

Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?

a No.
oO Yes. Explain: [

 

 

Official Form 1061 Schedule I: Your Income page 2

 

 
 

 

Case 20-10791 Doc1 Filed 01/21/20 Page 28 of 39

Fill in this information to identify your case:

 

 

 

Debtor 1 Melanie Clintte Bailey Check if this is:

O Anamended filing
Debtor 2 OD Asupplement showing postpetition chapter
(Spouse, if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the: DISTRICT OF MARYLAND MM/DD/YYYY

 

Case number
(If known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 1245

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

Describe Your Household
1. Is this a joint case?

Hf No. Go to line 2.
C1 Yes. Does Debtor 2 live in a separate household?

ONo
D2 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Doyou have dependents? [] No

 

 

 

 

Do not list Debtor 1 and Ml Yes Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. * each dependent............. Debtor 1 or Debtor 2 age live with you?
eee eee eee
Do not state the CI No
dependents names. Daughter 16 Yes
0 No
Son (Disable) 33 Ml Yes
[] No
Yes
O No
O Yes
3. Do your expenses include BINo

expenses of people other than
yourself and your dependents?

GER Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

C Yes

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule |: Your Income

(Official Form 1061.) . Your expenses
ANNAN

4. The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. 4. $ 1,000.00

If not included in line 4:

 

 

 

 

4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. §$ 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 150.00

 

Official Form 106J Schedule J: Your Expenses page 1

 
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Debtor1 Melanie Clintte Bailey

 

 

 

 

 

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6. Utilities:
6a. __ Electricity, heat, natural gas 6a. $ 0.00
6b. Water, sewer, garbage collection 6b. $ 0.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 130.00
6d. Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. $ 400.00
8. Childcare and children’s education costs 8. $ 0.00
9. Clothing, laundry, and dry cleaning 9. $ 30.00
10. Personal care products and services 10. $ 40.00
11. Medical and dental expenses 11. $ 0.00
12. Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments. 12. $ 50.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 0.00
14. Charitable contributions and religious donations 14. $ 0.00
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. §$ 230.00
15b. Health insurance 15b. $ 0.00
15c. Vehicle insurance 15c. §$ 268.00
15d. Other insurance. Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
17. Installment or lease payments:
17a. Car payments for Vehicle 1 17a. $ 513.00
17b. Car payments for Vehicle 2 17b. $ 0.00
17c. Other. Specify: 17c. $ 0.00
17d. Other. Specify: 17d. §$ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule |, Your Income (Official Form 106l). 18. $ 0.00
19. Other payments you make to support others who do not live with you. $ 0.00
Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property 20a. $ 0.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner's, or renter's insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e. $ 0.00
21. Other: Specify: 21. +$ 0.00
22. Calculate your monthly expenses
22a. Add lines 4 through 21. $ 2,811.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $ «2841.00
23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $ 1,934.31
23b. Copy your monthly expenses from line 22c above. 23b. -$ 2,811.00
23c. . Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 230. | $ 876.69
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
modification to the terms of your mortgage?
MNo.
C yes. | Explain here:
Official Form 106J Schedule J: Your Expenses page 2
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Fill in this information to identify your case:

Debtor 1 Melanie Clintte Bailey

First Name Middle Name Last Name

        
 

Debtor 2

(Spouse if, filing) First Name Middle Name Last Name

 

    
      
 
  
 

United States Bankruptcy Court forthe: © DISTRICT OF MARYLAND

 

  

Case number
{if known)

 

OO Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 42/18

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

P| Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

m No

(C Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)

 

that they are true and correct.
xX

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
if x

 

 

Melanie Clintte Bailey—~ Signature of Debtor 2
Signature of Debtor 1

 

 

| 7 | 2020 oat

Official Form 106Dec Declaration About an Individual Debtor's Schedules

 
 

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UR UCMULCUC oa m OMe CUI melee or oe

 
     

Debtor 1

   

Melanie Clintte Bailey

First Name Middie Name Last Name

       

Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 
  

 

      
     
  
 

United States Bankruptcy Court for the: § DISTRICT OF MARYLAND

 

Case number
(if known)

  

 

 
 

OO Check if this is an
amended filing

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before
1. What is your current marital status?

O Married
MH Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

MB No

C Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent ina community property state or territory? (Community property
States and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

M No
C1 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

GEE Explain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.

If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

[] No
@ Yes. Fill in the details.

 

Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check ail that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)

For last calendar year: @ Wages, commissions, $25,819.71 ©] Wages, commissions,

(January 1 to December 31, 2019 ) bonuses, tips bonuses, tips
CO) Operating a business CZ Operating a business

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

 

 
 

 

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Debtor 1 Melanie Clintte Bailey Case number (if known)

 

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income: interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

M No
Ol Yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross income from Sources of income Gross income
Describe below. each source Describe below. (before deductions
(before deductions and and exclusions)
exclusions)

GEICEREE List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

[ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
Cl No. Goto line 7.

O Yes List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

M Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

HM No. Gotoline 7.

O Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Creditor's Name and Address Dates of payment Total amount Amount you Was this payment for ...
paid still owe

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner, corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

alimony.

HM No

Ol Yes. List all payments to an insider.

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
Include payments on debts guaranteed or cosigned by an insider.

HM No
Yes. List alt payments to an insider
Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe Include creditor's name
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

 

 
 

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Debtor1 Melanie Clintte Bailey Case number (if known)

Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody

modifications, and contract disputes.
M No
Ol Yes. Fill in the details.

Case title Nature of the case Court or agency Status of the case
Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

M No. Goto line 11.
O Yes. Fill in the information below.
Creditor Name and Address Describe the Property Date Value of the
property
Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

M No
O Yes. Fill in the details.
Creditor Name and Address Describe the action the creditor took Date action was Amount

taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

H No
O Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
M No

O Yes. Fill in the details for each gift.
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

Person to Whom You Gave the Gift and
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
M No

O Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600 contributed

Charity's Name

Address (Number, Street, City, State and ZIP Code)

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?
@ No
O Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred Include the amount that insurance has paid. List pending 'SS lost
insurance claims on line 33 of Schedule A/B: Property.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

 
 

 

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Debtor1 Melanie Clintte Bailey Case number (if known)

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

HM No
0 Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address made

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

H No

Ol Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of

Address transferred or transfer was payment
made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

He No
OQ Yes. Fill in the details.
Person Who Received Transfer Description and value of Describe any property or Date transfer was

Address property transferred payments received or debts made
. paid in exchange
Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you area
beneficiary? (These are often called asset-protection devices.)

HM No
Ol Yes. Fill in the details.
Name of trust Description and value of the property transferred Date Transfer was

made

List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
' sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

M@ No

O Yes. Fill in the details.

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance

Address (Number, Street, City, State and ZIP account number instrument closed, soid, before closing or

Code) moved, or transfer
transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

MH No
CO Yes. Fill in the details.
Name of Financial Institution Who else had access to it? Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, have it?
State and ZIP Code)
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

 

 
 

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Debtor! Melanie Clintte Bailey Case number (jf known)

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

BH No
O Yes. Fill in the details.
Name of Storage Facility Who else has or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) to it? have it?
Address (Number, Street, City,
State and ZIP Code}

Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust

for someone.

M No

C Yes. Fill in the details.
Owner's Name Where is the property? Describe the property Value
Address (Number, Street, City, State and ZIP Code) (Number, Street, City, State and ZIP

Code)
izlumitMs Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24, Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

M No
Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

M No
O Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Mi No
O Yes. Fill in the details.
Case Title Court or agency Nature of the case Status of the
Case Number Name case
Address (Number, Street, City,
State and ZIP Code)

<umkee Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
CA sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
C) A member of a limited liability company (LLC) or limited liability partnership (LLP)
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

 
 

 

 

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Debter1 Melanie Clintte Bailey Case number (if known)

 

Oa partner in a partnership

O An officer, director, or managing executive of a corporation

CZ An owner of at least 5% of the voting or equity securities of a corporation
No. None of the above applies. Go to Part 12.
O Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer Identification number
Address Do not include Social Security number or ITIN.
(Number, Street, City, State and ZIP Code) Name of accountant or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

HM No

0 Yes. Fill in the details below.

Name Date Issued
Address
(Number, Street, City, State and ZIP Code)

Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers
are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S. 152, 1341, 1549, and 3571
CMa, Pad as

Metanie Clintte Baile Signature of Debtor 2
Signature of Debtor 1

12020 Dat

Did you atlach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
HNo

  

Date

 

C1 Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

MNo

C2 Yes. Name of Person . Attach the Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

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United States Bankruptcy Court
District of Maryland

Inre _ Melanie Clintte Bailey CaseNo. 3s.
Debtor(s) Chapter; 73247

felts

 

 

 

 

  

VERIFICATION OF CREDITOR MATRIX

The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.

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[| Sone fyi [
 

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ADT Security Service
3190 South Vaughn Way
Aurora, CO 80014

Bank of America
PO Box 982238
El Paso, TX 79998

CitiCards
PO Box 6282
Sioux Falls, SD 57117

Comcast
PO Box 3006
Southeastern, PA 19398

Comenity Bank
PO Box 182789
Columbus, OH 43218

D2 Management LLC
2894 Argent Blvd
Ridgeland, SC 29936

LabCorp
PO Box 2240
Burlington, NC 27216

M & T Bank
PO Box 62146
Baltimore, MD 21264

Progressive Leasing
256 West Data Drive
Draper, UT 84020

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Santander Consumer
PO Box 961211
Fort Worth, TX 76161

SmartPay Leasing
720 East Pete Rose Way Suite 400
Cincinnati, OH 45202

Southwest Credit Systems
4120 Interational Pkwy Suite 1100
Carrollton, TX 75007

T-Mobile
PO Box 53410
Bellevue, WA 98015

Transworld Systems
POB 15609
Wilmington, DE 19850

 

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